      Case 1:24-cv-00504-ADA        Document 39       Filed 03/31/25     Page 1 of 1




                           UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF TEXAS
                                  AUSTIN DIVISION


ANANDA CAMARGO CHAVEZ, IN-                   §
DIVIDUALLY AND ON BEHALF OF                  §
ALL OTHERS SIMILARLY SITUAT-                 §
ED;                                          §
                                             §      CIVIL NO. A-24-CV-00504-ADA
                    Plaintiff,               §
                                             §
v.                                           §
                                             §
REBUILT BROKERAGE LLC, RE-                   §
BUILT OFFERS LLC,
                    Defendants.

     ORDER VACATING REFERRALS AND RESETTING MOTIONS HEARING

      The referrals of Plaintiff’s Motion for Sanctions (ECF No. 23), Plaintiff’s Motion for

Leave to File Expert Designation Out-of-Time (ECF No. 29), and Plaintiff’s Motion to

Supplement (ECF No. 32) to Magistrate Judge Dustin M. Howell are hereby VACATED.

      Accordingly, the Order Setting Hearing before Judge Howell is hereby reset to April 14,

2025 at 9:30AM via Zoom.



      SIGNED this 31st day of March, 2025.
